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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                                                     CASE NUMBER:


  UNITED STATES OF AMERICA                                                8:19−mj−00021

                                                   PLAINTIFF(S)

        v.

  PEN REGISTER

                                                                         NOTICE TO FILER OF DEFICIENCIES IN
                                                                       CRIMINAL DUTY MATTERS E−FILING PILOT
                                                DEFENDANT(S)                       PROJECT CASE




  PLEASE TAKE NOTICE:

  The following problem(s) have been found with your electronically filed document:

    1/11/2019           1                Application
   Date Filed         Doc. No.         Title of Doc.

  ERROR(S) WITH DOCUMENT

        NOT A PILOT PROJECT MATTER
        The document you filed is not included in the pilot project established by General Order No. 17−02 and must
        therefore be manually filed. Please bring your document to a Clerk's Office Criminal Intake window for filing,
        where a new case will be opened. This case has been administratively closed. Documents filed in this case after the
        issuance of this notice will not be reviewed.

   X    INCORRECT CASE NUMBER ON APPLICATION
        The caption of the Application you filed indicates a case number different than that of the case in which you filed it.
        This case has therefore been administratively closed. Please open a new case electronically and e−file the correct
        document(s) with the new case number. Documents filed in this case after the issuance of this notice will not be
        reviewed.

        INCORRECT DOCUMENT ATTACHED
        You attached a document that does not appear to match the event used to file it or the case in which it was filed.
        This case has therefore been administratively closed. Please open a new case electronically and e−file the correct
        document(s) with the new case number. Documents filed in this case after the issuance of this notice will not be
        reviewed.

        PROPOSED ORDER NOT SUBMITTED WITH APPLICATION
        Please e−mail a copy of the proposed order to the chambers e−mail address of the appropriate duty magistrate judge
        (unless previously directed otherwise, the magistrate judge assigned to document duty the day the application was
        filed).

        OTHER:


                                                                 Clerk, U.S. District Court

  Dated: January 11, 2019                                        By: /s/ Lori Wagers
                                                                    Deputy Clerk




− NOTICE TO FILER OF DEFICIENCIES IN CRIMINAL DUTY MATTERS E−FILING PILOT PROJECT CASE −
